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 6 United States of America

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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                              CASE NO. Cr 1:12-cr-00184 AWI-
                                                            BAM
12                                Plaintiff,
                                                            STIPULATION REGARDING
13                 v.                                       ADVANCEMENT; ORDER
14   JOSE LUIS GARCIA VILLA,
15                                Defendant.
16
                                               STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for a status conference on June 23, 2014,

21 before U.S. Magistrate Judge Barbara A. McAuliffe.

22          2.      By this stipulation, the parties agree to advance the matter for a change of plea before
23
     Senior U.S. District Judge Anthony W. Ishii on Tuesday, May 27, 2014, at 10 a.m.
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          Case 1:12-cr-00184-DAD-BAM Document 75 Filed 05/20/14 Page 2 of 2


     IT IS SO STIPULATED.
 1
     DATED:     May 20, 2014.    Respectfully submitted,
 2
                                 BENJAMIN B. WAGNER
 3                               United States Attorney
 4
                                 /s/ Karen A. Escobar___________________
 5                               KAREN A. ESCOBAR
                                 Assistant United States Attorney
 6

 7 DATED:       May 20, 2014.
 8                               /s/ David Torres
                                 DAVID TORRES
 9                               Counsel for Defendant
10

11                                      ORDER
12
     IT IS SO ORDERED.
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14 Dated: May 20, 2014
                                       SENIOR DISTRICT JUDGE
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